Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 1 of 35

COSTS
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 2 of 35

Barati v Metro North Railroad Company
COSTS

Clerk, CT Dist Court Filing Fee: $350.00

Witness Fees:

John Ella-Testimony $40.00
John Ella-Travel $83.40
Anne Kirsch-Testimony $40.00
Anne Kirsch-Travel $83.40
John Wagner-Testimony $40.00
John Wagner-Travel $35.16
Chris Silvera-Testimony $40.00
Chirs Silvera-Travel $78.87

Depo Transcripts:

Sanders Gale & Russell Rptrs -Andrew Barati $357.75
Sanders Gale & Russell Rptrs-Nick Pellegrino $515.75
Sanders Gale & Russell Rptrs-John Wagner $634.94
Legalink (Merrill Rptrs) CSO Mark Campbell $588.41
Legalink (Merrill Rotrs) VP Gregory Bradley $545.91
DelVecchio Rptrs-Andrew Barati Transcript $625.20

Service of Process:

Williard Kemp-Trial subpoena for John Wagner $76.00
Paragon Process Service-Trial subpoenas for John Ella $80.00
Paragon Process Service-Trial subpoenas for Anne Kirsch $80.00
Expert Fees:

George A. Gavalla-Retainer Fee $1,000.00
George A. Gavalla-Balance $9,130.27

$14,425.03

$350.00 11/08/10

02/13/12

02/13/12

02/13/12

03/08/12
$440.83

11/06/09

08/22/11

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10/06/11
$3,267.93

03/07/12

03/14/12

03/14/12
$236.00

09/22/11
to be paid
$10,130.27

$14,425.03
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 3 of 35

Fees of the Clerk
Case .3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 4 of 35

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 5 of 35

RECEIPT FOR PAYMENT

DISTRICT COURT OF
CONNECTICUT

NEW HAVEN DIVISION

NB31868

 

RECEIVED FROM:

CAHILL, GOETSCH & MAURER, pC
43 TRUMBULL STREET
NEW HAVEN, CT #6518

 

Case Numbers 3:16CV1756

 

F/U/B/O:
Party ID:

Tender Typet CHECK
11-8864 $188.68

Civil Filing Fee Part3

Remarks:

11-8869 $68. 88
Civil Filing-686988

Remarks:
11-Sissee $198, 84

Civil Filing-510088
Remarks: #12465, usdj JBA

 

Subtotal: $356. 68

 

Receipt Total: $358. 88
* Checks and drafts are accepted
subject to collections and full
credit will only be given when

the check or draft has been
accepted by the financial
institution on which it was drawn.

Date: 11/9/18
Clerk:
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 6 of 35

Fees for Witness
J Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 7 of 35

Cahill CAHILL GOETSCH & PERRY, P.C.
G oe t sc h 43 Trumbull Street
New Haven, CT 06510

& P err y; P. C ° Tel: 203-777-1000

Attorneys At Law Fax: 203-865-5904
www.trainlaw.com New York Office
Chrysler Building

Charles C. Goetsch, Esq. 405 Lexington Avenue, 26th Floor

New York, NY 10174

admitted in CT and NY
Aerie en Tel: (212) 453-7300

charlie@trainlaw.com

Boston Office

8 Faneuil Hall Marketplace, 3rd Floor
February 13, 2012 Boston, MA 02109

Tel: (617) 217-2920

PLEASE REPLY TO NEW HAVEN OFFICE

John Ella

MTA Metro-North Railroad
Occupational Health Services
420 Lexington Avenue

22nd Floor, Suite 2201

New York, NY 10017

Dear Mr. Ella:

You have been subpoenaed to testify in United States District Court in New
Haven, Connecticut, on Monday, February 27, 2012, in the case of Barati v. Metro North
Railroad, No. 3:10cv01756(JBA). The trial judge is U.S. District Judge Janet Bond
Arterton. Her Courtroom is Courtroom #2 on the first floor of 141 Church Street.

You definitely will be called to testify on Monday, February 27th, so plan to arrive
at the courthouse no later than 12:00 noon. Failure to appear will result in a finding of
contempt of court.

Enclosed is a check in the amount of $123.40 representing the statutory fee to
testify.

Should you need to contact me, my email address is Charlie@trainlaw.com and

cell is 203-376-0526.
Very truly Poy CLye7

Charles C. Goetsch

CCG/kml
Encl.
 

 

 

no y re: Barati vs. Metro-North Railroad.

     

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CAHILL GOETSCH & PERRY, P.C.
3/2012 John Ella

Subpoena fee

4010 CASH:CASH-NE Trial testimony re: Barati vs. Metro-North Railroad.

Subpoena fee

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——— CARILL cortdaa/2bany, p.c. John Ella

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/ Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 9 of 35

Cahill CAHILL GOETSCH & PERRY, P.C.
G oe t sc h 43 Trumbull Street
New Haven, CT 06510

& P err y, P. C I Tel: 203-777-1000

Attorneys At Law Fax: 203-865-5904
www.trainlaw.com New York Office
Chrysler Building

Charles C. Goetsch, Esq. 405 Lexington Avenue, 26th Floor

New York, NY 10174

Admitted in CT and NY Tel: (212) 453-7300

charlie@trainlaw.com

Boston Office
8 Faneuil Hall Marketplace, 3rd Floor

February 13, 2012 Boston, MA 02109
Tel: (617) 217-2920

PLEASE REPLY TO NEW HAVEN OFFICE

Anne Kirsch

Metro North Railroad Company
347 Madison Ave, 11" Floor
New York, NY 10017

Dear Ms. Kirsch:

You have been subpoenaed to testify in United States District Court in New
Haven, Connecticut, on Monday February 27, 2012, in the case of Barati v. Metro North
Railroad, No. 3:10cv01756(JBA). The trial judge is U.S. District Judge Janet Bond
Arterton. Her Courtroom is Courtroom #2 on the first floor of 141 Church Street.

You definitely will be called to testify on Monday, February 27th, so plan to arrive
at the courthouse no later than 10:00 a.m. Failure to appear will result in a finding of
contempt of court.

Enclosed is a check in the amount of $123.40 representing the statutory fee to
testify.

Should you need to contact me, my email address is Charlie@trainlaw.com and

cell is 203-376-0526.
Very truly yours, Ayre

Charles C. Goetsch

CCG/kml
Encl.
 

“WORSL abe" 1022 b039093"

CAHILL GOETSCH & PERRY, P.C.

02/43/2012

Anne Kirsch

 

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Subpoena fee

41010 CASH:CASH-NE Trial testimony re: Barati vs. Metro-North Railroad.

CAHILL GoE PSH Fe PEERY, p.c, Anne Kirsch

Subpoena fee

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 11 of 35

Cahill CAHILL GOETSCH & PERRY, P.C.
G oets Cc h 43 Trumbull Street
& Perry, P.C. cea auoo
Attorneys At Law Fax: 203-865-5904
www.trainlaw.com New York Office

Chrysler Building

Charles C. Goetsch, Esq. 405 Lexington Avenue, 26th Floor

New York, NY 10174
Tel: (212) 453-7300

Admitted in CT and NY
charlie@trainlaw.com

Boston Office
8 Faneuil Hall Marketplace, 3rd Floor

February 24, 2012 Boston, MA 02109
Tel: (617) 217-2920

PLEASE REPLY TO NEW HAVEN OFFICE

John Wagner
5 Pocono Road
Norwalk, CT 06851

Dear Mr. Wagner:

You have been subpoenaed to testify in United States District Court in New
Haven, Connecticut, on Thursday, March 15, 2012, in the case of Barati v. Metro North
Railroad, No. 3:10cv01756(JBA). The trial judge is U.S. District Judge Janet Bond
Arterton. Her Courtroom is Courtroom #2 on the first floor of 141 Church Street.

You definitely will be called to testify on Thursday, March 15" so plan to arrive at
the courthouse no later than 10:00 a.m. Failure to appear will result in a finding of
contempt of court.

Enclosed is a check in the amount of $75.16 representing the statutory fee to
testify.

Should you need to contact me, my email address is Charlie@trainlaw.com and
cell is 203-376-0526.

Very truly yours,
Charles C. Goetsch

CCG/kml
Encl.
 

osago075"

CAHILL GOETSCH & PERRY, P.C.
02/13/2012 John Wagner

Subpoena fee

4010 CASH:CASH-NE Trial testimony re: Barati vs. Metro-North Railroad.

CAHILL Gortet# 2 bry, p.c, John Wagner ©
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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 13 of 35

Cahill
Goetsch
& Perry, P.C.
Attorneys At Law
www.trainliaw.com
Charles C. Goetsch, Esq.

Adreutted in CT and NY
charlie@trainlaw.com

Chris Silvera
23 Old North Road
Amenia, NY 12501

Dear Mr. Silvera:

March 8, 2012

CAHILL GOETSCH & PERRY, P.C.

43 Trurmbull Street
New Haven, CT 06510
Tel: 203-777-1000
Fax: 203-865-5904

New York Office

Chrysler Building

405 Lexington Avenue, 26th Floor
New York, NY 10174

Tel: (212) 453-7300

Boston Office

8 Faneuil Hall Marketplace, 3rd Floor
Boston, MA 02109

Tel: (617) 217-2920

PLEASE REPLY TO NEW HAVEN OFFICE

You have been subpoenaed to testify in United States District Court in New
Haven, Connecticut, on Friday, March 16, 2012, in the case of Barati_v. Metro North
Railroad, No. 3:10cv01756(JBA). The trial judge is U.S. District Judge Janet Bond
Arterton. Her Courtroom is Courtroom #2 on the first floor of 141 Church Street.

You definitely will be called to testify on Friday, March 16" so plan to arrive at the
courthouse no later than 9:00 a.m. Failure to appear will result in a finding of contempt

of court.

Enclosed is a check in the amount of $118.87 representing the statutory fee to

testify.

Should you need to contact me, my email address is Charlie@trainlaw.com and

cell is 203-376-0526.

CCG/kml
Encl.

Very truly yours, 3 :

Charles C. Goetsch
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 14 of 35

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 15 of 35

Fees of court reporters for depo transcripts
Case 3:10-cv-01756-JBA Document 1342, filed 9404/42 Fage ep, :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SANDERS, GALE & RUSSELL a Ae 31.272 Invoice
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A DIVISION OF MORGILLO & FLYNN, LLC “Ff 6 TAZ “AS
PO BOX 1048 Date Invoice #
NEW HAVEN, CT 06504
TAX LD. # XX-XXXXXXX 13/2009 eels
Bill To
CAHILL, GOETSCH & PERRY, P.C.
43 TRUMBULL STREET
NEW HAVEN, CT 06511
ATTN: CHARLES GOETSCH, ESQ
Terms
Due on receipt
Description Qty Rate Amount
BARATI vs. METRO-NORTH 0.00
OCTOBER 26, 2009 0.00
DEPOSITION OF: ANDREW BARATI (125) 0.00
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PAGES, 1 COPY 233 2.50 582.50T
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SHIPPING & HANDLING-! PACKAGE 0.00 0.00T
CT. State Sales Tax 6.00% 37.95
Total $670.45

 

 

Phone # Toll Free#

E-mail

 

 

 

 

(203) 624-4157 (866) 966-GALE

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 17 of 35

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Sanders, Gale & Russell
A Dhvision Of Morgillo & Flynn

437 Orange Street

New Haven, CT 06511

USA
Voles: 1-203-624-4157
Fax: 1-203-624-4462

 

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Invoice Date: Ju! 28, 2011
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@66-966-GALE PLEASE REMEMBER TO INCLUDE INVOICE
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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 19 of 35

08/24/2011

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Sanders, Gale & Russell

A Division of Morgillo & Flynn, LLC
437 Orange Street

New Haven, CT 06511

Inv # 41042; Barati v. MN

08/24/2011 Sanders, Gale & Russell
Deposition transcripts 822.40
1010 CASH:CASH-NE Inv # 41042; Barati v. MN 822.40
08/24/2011 Sanders, Gale & Russell
Deposition transcripts 822.40

1010 CASH:CASH-NE Inv # 41042; Barati v. MN 822.40
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 20 of 35

Sanders, Gale & Russell Bl VF

A Division Of Morgillo & Flynn a

437 Orange Street Invoice Number: 42405

New Haven, CT 06511 invoice Date: Dec 1, 2011
USA Page: 1

Voice: 1-203-624-4157 Duplicate

Fax: 1-203-624-4462

 

 

 

 

| Bill To: Ship to:
Cahill,Goetsch & Perry Cahill,Goetsch & Perry
43 Trumbull Street 43 Trumbull Street
New Haven, CT 06511 New Haven, CT 06511

 

Scott Perry, Esq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Customer ID CustomerPO Payment Terms
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Sales Rep ID or Shipping Method Ship Date Due Date —
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_ Quantity Description _ Unit Price | Amount
BARATI V METRO NORTH
NOVEMBER 22, 2011
DEPOSITION OF JOHN WAGNER
120.00 | ORIG & | COPY 4.10 492.00
1.00 | ATTENDANCE 95.00 95.00
4.00 | SHIPPING & HANDLING 10.00) 10.00
Subtotal 597.00
Sales Tax . 37.91
Total Invoice Amount 634.91
Check/Credit Memo No: _Payment/Credit Applied _ |
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866-966-GALE PLEASE REMEMBER TO INCLUDE INVOICE

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SGRi1@SBCGLOBAL.NET
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 21 of 35

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 22 of 35

 

LEGALINK, INC. e

 

MERRILL LEGAL SOLUTIONS _
25 W 45th Street. Sui
New York, Nev York 1003¢

   

3G Phone

Charles C. Goetsch, Esq.
Cahill Goetsch & Perry, P.C.
43 Trumbull Street

New Haven, CT 06510

| ORIGINAL AND 1 COPY OF TRANSCRIPT OF:

“ Mark Campbell g a,
ATTENDANCE

ORIGINAL AND 1 COPY OF TRANSCRIPT OF:

“Gregory Bradley Cs

~ORIGINALAND—1--COPY—OF—-TRANSCRIPT. OF:

Angela Pitaro

Jena -

   

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| Packaging and Handling

PLEASE SEND REMITTANCE TO:

t LegaLink, Inc.
P.O. Box 277951
Atlanta, GA 30384-7591

INVOICE

_ _ INVOICE NO, . INVOICE DATE. ;._JOB NUMBER

 

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Andrew Barati, et al. vs. Metro-North Commuter Railroad

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Immediate, sold FOB Merrill facitity

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131 Pages @ 4.25/Page 556.75
80.00

121 Pages @ 4.25/Page 514.25
56 Pages @ 4,25/Page 238.00
15.00

TOTAL DUE >>>> 1 ! 404.00

For your convenience, Merrill Legal Solutions now accepts Visa/Mastercard.

| Please Note our New Tax ID Number is XX-XXXXXXX.

|
|

TAX ID NO. : XX-XXXXXXX

(203) 777-1000 = Fax (203) 865-5904

Please detach bottom portion and return with payment.

Charles C. Goetsch, Esq.
Cahill Goetsch & Perry, P.C.
43 Trumbull Street

New Haven, CT 06510

Remit To: LegaLink, Inc.
PO Box 277951
Atlanta, GA 30384

Invoice No.: 18148594
Date 10/27/2009
TOTAL DUE : 1,404.00
Job No. f 1801-121265
Case No.

Andrew Barati, et al. vs. Metro-Nort
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 23 of 35

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 24 of 35

Del Vecchio Reporting Services, LLC

Professional Shorthand Reporters
117 Randi Drive
Madison, Connecticut 06443

(203) 245-9583 Please refer to invoice number when remitting.

INVOICE # ante

October 3, 2011

SCOTT E. PERRY, ESO.

CAHTLIVr, GOETSCH & PERRY, PC
? 1] Street

j Connecticut 06510

‘000 (203) 865-5904

Yinlaw. com

Barati vs Metro-North Commuter Railroad
Deposition of Andrew Barati taken on Sptember 23, 2011

 

TRANSCRIPTS:

1 COPY

COMPRESSED-FORMAT TRANSCRIPT

POSTAGE
SUBTOTAL
TAX
TOTAL

REPORTER: KIMBERLY M. WHITE, CSR, LIC#: SHR.433

All invoices shail be due upon receipt. invoices will be considered past due thirty (30) days after the invoice date. Past due
amounts are subject to a 1.50% monthly finance charge. We also reserve the right to add collection costs to late payments.
Fees all inclusive

 

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 25 of 35

10/06/2011

Del Vecchio Reporting Services, LLC **625.20

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Del Vecchio Reporting Services, LLC
117 Randi Drive
Madison, CT 06443

Inv #22748. Barati vs. Metro-North.

10/06/2011 Del Vecchio Reporting Services, LLC
Deposition transcript 625.20
1010 CASH:CASH-NE Inv #22748. Barati vs. Metro-North. 625.20
10/06/2011 Del Vecchio Reporting Services, LLC
Deposition transcript 625.20

1010 CASH:CASH-NE Inv #22748. Barati vs. Metro-North. 625.20
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 26 of 35

Fees for service of subpoenas
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 27 of 35

~ Kemp

Willard Kemp
P.O. Box 112170 : Invoice

   
  
  

     
   
  

STAMFORD, CT 06911-2170 “.. Date VOICE yt
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(203)253-0139
bill@kemprecovery.com

    
  

Due Date:
03/01/2012

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Atty. Charles C. Goetsch |
Cahill, Goetsch & Perry, PC |
43 Trumbull St |
New Haven, Ct 06510-1059 |

 

Enclosed:

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* Subpena 30.00
John Wagner ea
5 Pocono Road
! Norwalk, Ct ; ep
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* Pages ee 4.00

| * Endorsements a 0.80

 

 

 

   

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 29 of 35

Paragon Process Service, Inc.
233 Broadway, Suite 1806 * New York, NY 10279
Tel: (212) 962-0911

 

 

 

 

 

TO Cahill Goetsch & Perry

43 Trumbull Street

New Haven, CT 06510 Date: 2/24/12

Atin: Charles D. Goetsch
Date Amount
2/17 Andrew Barati Metro North Railroad Company

#10CV01756-JBA (John Ella) 80.00
2/17 Andrew Barati Metro North Railroad Company

#10CV01756-JBA (Anne Kirsch) 80.00

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Total Amount due: 160.00
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 30 of 35

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Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 31 of 35

Fees for Experts
Case 3:10-cv-01756-JBA Document 131-2 Filed 04/04/12 Page 32 of 35

Invotce

George A. Gavalla
11 Cherry Hill Road
Norwich, CT. 06360

Tel. 860-886-8104

Fax 860-204-9129

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New Haven, CT 06510

Services Rendered: Safty Analysis & Report by George A. Gavalla

No: 3:J0CV 01756 in the United States District Court District of -
Billing Period: From: September 15, 2011; To: March 23, 2012
Rate $200 per hour for investigative and consulting services

$100 per bour for travel time |
‘$250 per hour for trial and deposition testimony and preparation.

 

 

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Date Tim Changes 5 £ Activith

 

9292011 3.0 $ 06 Depositions of Bradley & Campbell, OSHA
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$1,600
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$ 200

$1,250

 

Total Hourly Fees

Expenses:
3/20/2011

$1,050.00

$ 3027

 

Total Expenses:

$ 30.27

Hearing Transcript Re: Bradley &
Campbedl

Investigation Manual, ICP, OP Rules, Safety
Rules, 49 CFR Part 225, (CP Final Rule and
Preamble, FRA Accident Reporting Guide,

Begin Drafting Safsty Analysis Report
Continus Drafting Safety Analysis Report

Review materials for trial preparation
Review materials for trial preparation

Travel to trial and ret; Travel Tims @
$100/hr,

Attend and Testify at Trial: Tria! Time @

Drive to Court House & Retum 114 mi, @
$.555/mi. = $63.27; parking $17.00

 
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Fotal Fees and Expenses: 5 10,150.27

Balance Due: $9130.77
11 Cherry Hill Road
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